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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

L. LEE WHITNUM,                                   :      DOCKET NO. 3:17-cv-1362
      Plaintiff-Appellant,                        :
                                                  :
vs.                                               :
                                                  :
THE TOWN OF WOODBRIDGE,                           :
ROBERT B. CROWTHER (PERSONALLY                    :
and PROFESSIONALLY), FRANK                        :
P. CAPPIELLO (PERSONALLY and                      :
PROFESSIONALLY),                                  :      September 3, 2019
     Defendants-Appellees.


                            EMERGENCY MOTION FOR STAY


1.    This litigant is requesting stay on all rulings in this case until Judge Janet Hall

steps down. This litigant in the Cross Motion for Summary Judgment asked for oral

argument and that has not been scheduled. Also the oral argument for her opposition

to the defense’s Motion for Summary Judgment has not been scheduled.

2.    This litigant is asking that every matter in this case, every open motion be stayed

until Judge Janet Hall recuses herself. This has been requested in the Emergency

Motion for Disqualification which was based on political differences. That emergency

motion was filed today. .



Sincerely,
s/L. Lee Whitnum




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                                      CERTIFICATION

       I hereby certify that on Sept. 3, 2019, a copy of the foregoing was filed

electronically and served by email on anyone unable to accept electronic filing.

Kirsten & Tallberg, LLC
500 Enterprise Drive, Suite 4B
Rocky Hill, CT 06067


Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept electronic filing. Parties

may access this filing through the Court’s system.

Sincerely,
s/L. Lee Whitnum




                                               W3
